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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASENO. _23-60224-CR-DIMITROULEAS/HUNT
18 U.S.C. § 1512(k)
FILED BY. AT D.C.

UNITED STATES OF AMERICA
v. Nov 9, 2023
ANGELA E. NOBLE

CLERK U.S. DIST. CT.
VINESSA NORIEGA, SD. OF FLA. FIL

Defendant.

INDICTMENT

The Grand Jury charges that:
From on or about July 23, 2023, and continuing through on or about September 30, 2023, the exact
dates being unknown to the Grand Jury, in Broward County, in the Southern District of Florida, the
defendant,
VINESSA NORIEGA,
did knowingly and intentionally conspire with persons known and unknown to the Grand Jury to corruptly
persuade another person, that is, D.R., with intent to influence and prevent the testimony of D.R. in an

official proceeding, that is, a federal criminal trial in the United States of America v. Jorge Gonzalez, Case

No. 23-60108-CR-SINGHAL, in violation of Title 18, United States Code, Section 1512(b)(1); all in

violation of Title 18, United States Code, Section 1512(k).

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SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.:
V.
CERTIFICATE OF TRIAL ATTORNEY
VINESSA NORIEGA,
/ Superseding Case Information:
Defendant. New Defendant(s) (Yes or No)
Court Division (select one) Number of New Defendants
C) Miami Key West [IFTP Total number of counts
EK) FTL EF] WPB
I do hereby certify that:
1. I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.
2. | [am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting

their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

3. Interpreter: (Yes or No) No
List language and/or dialect:

4. — This case will take_3 days for the parties to try.

5. Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I fl Oto 5 days F1 Petty

Il [1 6to 10 days E71 Minor

Il [11 to 20 days [7] Misdemeanor
IV F121 to 60 days =] Felony

V_ £161 days and over

6. Has this case been previously filed in this District Court? (Yes or No) No
If yes, Judge Case No.
7. Has acomplaint been filed in this matter? (Yes or No) No
If yes, Magistrate Case No.
8. Does this case relate to a previously filed matter in this District Court? (Yes or No) Yes
If yes, Judge Singhal Case No. 23-CR-60108-AHS
9. Defendant(s) in federal custody as of
10. Defendant(s) in state custody as of
11. Rule 20 from the _____ Dis trict. of
12. Is this a potential death penalty case? (Yes or No) No
13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
15. Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
during his tenure at the U.S. Attorney’s Office, which cqneluded on January 22, 2023? No
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M. CATHERINE KOONTZ
Assistant United States Attorney

CourtIDNo. A5501929

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: VINESSA NORIEGA

Case No:

Count #: 1
Conspiracy to Obstruct Justice

18 U.S.C. § 1512(k)

* Max. Term of Imprisonment: 20 years

* Mandatory Min. Term of Imprisonment (if applicable): n/a
* Max. Supervised Release: 3 years

* Max. Fine: $250,000

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

Count #:

* Max. Term of Imprisonment:

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release:

* Max. Fine:

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.

